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 In the United States Court of Federal Claims
                                           No. 13-575C
                                    Filed: December 11, 2015

*************************************
AAR MANUFACTURING, INC., and        *
WEATHERHAVEN RESOURCES,             *
LTD.,                               *
                                    *
      Plaintiffs,                   *
                                    *
v.                                  *
                                    *
THE UNITED STATES,                  *
                                    *
      Defendant.                    *
*************************************
                                            ORDER

        Pursuant to Rule 54(d) of the Rules of the United States Court of Federal Claims, the court
accepts the December 8, 2015 Stipulation For The Entry Of Judgment. Therefore, the Clerk of the
United States Court of Federal Claims is ordered to enter final judgment against the Government
in the amount of $2,000,000, in accordance with the Stipulation.

       IT IS SO ORDERED.
                                                     s/ Susan G. Braden
                                                     SUSAN G. BRADEN
                                                     Judge
